Case 1:25-cv-00011-MJT             Document 1-1         Filed 01/06/25        Page 1 of 5 PageID #: 41
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FIRESIDE CHAT: A conversation with Rob Bonta, California Attorney General*
Interviewer: Reuters Correspondent, Valerie Volcovici
Monday, October 7, 2024 | 9:25 AM - 9:45 AM
https://events.reutersevents.com/sustainability-usa/agenda

*This transcript has been edited for clarity.



Valerie Volcovici, Reuters: Well ﬁrst, good morning. Thank you for being with us this morning. I wanted
to start with what Axel just mentioned. Two weeks ago, you kicked oﬀ Climate Week with a big
announcement that California will launch a lawsuit against ExxonMobil over its deception around
recycling and its role in exacerbating the global plastics pollution crisis.

Can you tell us more about how the investigation, your two year investigation, turned into this lawsuit?
And I wanted to just ask you to respond to Exxon's reaction to the lawsuit, which is, you know, why? Why
should the state of California work with Exxon to ﬁnd the solutions and ﬁx the broken recycling system,
rather than, you know, getting into legal action? So maybe if you could speak to their cases.

AG Bonta: Absolutely. Well, ﬁrst, good morning everybody. Thank you, Valerie for having me. Thank you
Reuters, honored to be here. On September 23, the state of California sued ExxonMobil for a decades
long campaign of deception in which they try to convince the world that recycling of plastics, including
single use plastics, is environmentally sustainable. The truth is it's not.

The truth is only 5% of plastic waste in America is actually recycled. The truth is 95% goes to the
incinerator, landﬁll or into the environment, our neighborhoods, our beaches, our rivers, our streams.
The truth is, ExxonMobil knew that recycling was not and is not technically more ﬁnancially feasible. And
they've lied for 50 years and continue to lie today. Their newest version of an old lie is advanced
recycling, which is neither advanced nor recycling. And so one of the things that ExxonMobil is very good
at recycling, unfortunately, is their lies. So that is the heart of the case.

We launched our investigation, as you mentioned, with issuance of subpoenas to ExxonMobil about two
and a half years ago. And I ﬁrst want to say a thank you to the investigative journalist world for all of the
work done before we launched our investigations, it provided a pathway for us, a foundation of facts, for
us to build on. Some of the really good reporting, where there were monitors on pieces of plastic, and it
showed that it was going to the incinerator or overseas, to incinerators or landﬁll or here in America.
And it was really helpful. We've actually cited the kind of journalistic investigative material.

We issued the subpoenas to ExxonMobil, to their ecosystem, the businesses they work with, the trade
associations they are a part of. And we learned a lot about advanced recycling, which we set forth in our
complaint, but we conﬁrmed and reaﬃrmed much of what we had learned before there was more
supplemental information that showed the depth of the lies, that showed that ExxonMobil is even lying
to some of its corporate customers. And so the lies are deep. They're ongoing, and we believe that
ExxonMobil needs to be held accountable for lying to the world, lying to Americans, lying to Californians.
Californians have suﬀered. We spend a billion dollars a year to clean up plastic waste in California, and
ExxonMobil, of course, has a response.

Their response is notable for a number of reasons. One is they do not deny our allegations in their
response. They do try to deﬂect and take the attention away from them. This is a case about ExxonMobil
Case 1:25-cv-00011-MJT            Document 1-1         Filed 01/06/25        Page 2 of 5 PageID #: 42



to combat what they have done for 50 years. And their ﬁrst response is, look at California's recycling
system and recycling system that, by the way, has worked very well when it comes to paper and
cardboard and glass and aluminum, and all of our systems, all of our policies, people's behavior is based
on fact, and when you're being lied to, that is impactful. So the deﬂection is notable, and also the refusal
to take accountability.

And then they weakly pivot to their latest greenwashing and gaslighting, which is advanced recycling.
And this is what they've always said. Forget about the fact that, yes, for 50 years, we've told you that
recycling with plastic waste works. Now it really works. Trust us, even though we've lied to you. Now
there's this new thing called advanced recycling. And look at Houston, look at Idaho, look at Salt Lake
City. These are advanced recycling projects that are supposed to be the new solution, and what is
happening is post-consumer plastic waste is just piling up. It is not being recycled. So happy to talk more
about advanced recycling, but that's my response to Exxon.

Valerie Volcovici, Reuters: Yes. I think a big part of the lawsuit, this one, the one against the four oil
majors and the American Petroleum Institute over their role in deception around climate change, it's
greenwashing. What is the goal of these legal actions? I mean, companies cannot help but greenwash.
And there's no backstop. Is the hope to pressure the federal government to also take stronger actions to
crack down on greenwashing and deceptive advertising? I know it's something that the UN Secretary
General has really spoke strongly about. How much of the problem is the greenwash, or the recycle
wash, or whatever?

AG Bonta: Yeah, it’s a big part of the problem. And I just want to put a ﬁne point on what you just
mentioned. This year's Climate Week, we announced our lawsuit against ExxonMobil for promoting a
myth of recycling. A year ago, at Climate Week with Governor Newsom, we announced our suit against
BP and ConocoPhillips, Shell, and Chevron, also ExxonMobil again, and the American Petroleum Institute
for climate change deception. Next Climate Week we might not have a lawsuit introduced, but who
knows what we'll have.

We want these big, multinational, powerful, ﬁlthy, rich corporations – and ExxonMobil had $36 billion in
proﬁt just last year, in one year – We want them to tell the truth. Stop lying, stop deceiving, and stop
manipulating the public. Stop lying to consumers, stop propping up channel solutions. Truth is not a lot
to ask, and the law requires it. Our lawsuit against ExxonMobil has diﬀerent causes of action, including
alleging that they have been engaged in deceptive business practices, that they have been involved in
misleading environmental marketing, that they have been involved in false advertising, all of which are
backed by the record.

You can see the two themes in our two major cases, and it's the fossil fuel industry. The heart and soul is:
stop deceiving us, stop lying and tell the truth. We have laws in California that require that. We invite
others to participate in our eﬀorts to hold large corporations that lie and hurt our environment, our
people, our future, to tell the truth. Other states sued before us in the climate change deception cases,
we were the largest geographic entity and economic entity to sue, and I think, really promoted and
accelerated the ongoing eﬀort. We are the only public entity to sue a petrochemical company that
produces polymers and the fundamental building blocks, the pellets that become classic products in our
everyday use. And we want, we encourage others to consider whether these are appropriate cases that
they can join too. But a rising tide, a building momentum of folks calling on our corporate entities to stop
lying to us. Because truth is very important.
Case 1:25-cv-00011-MJT            Document 1-1         Filed 01/06/25       Page 3 of 5 PageID #: 43



Valerie Volcovici, Reuters: So what should the role of these companies, the companies that do pollute,
companies that do create plastic pollution, or CO2 emissions, they are also the ones that, through their
actions, could have a big impact on those emissions, on that pollution? What should the role of
technology mean in terms of addressing the climate issue, in addition to regulation? Would you try to
stop some of these companies to be part of the solution? Do you believe that they say, you know, we're
investing in this? We're a direct air capture project, or whatever it is… Does that need to be part of the
mix?

AG Bonta: The record for many decades of lies, deception, greenwashing, gaslighting makes it diﬃcult to
accept at face value promises and commitments. Many commitments are made by and have been made
by fossil fuel companies, and it's part of a headline and a public outreach and communications eﬀort,
and then they simply walk away from it. And so it's diﬃcult. Is it possible? It's possible. There will be a
behavioral change that will be necessary. I think there will need to be accountability and oversight, as
well as partnership with non-ﬁnancially interested entities, members of the scientiﬁc community…
Technology is a pathway. That's both potential and possibilities, but we need to look at the actual facts
and allow policymakers and leaders and activists, to make decisions based on existing facts. Like a false
promise about this new, so called newfangled, advanced recycling: it's not based on truth. It's an over
promise. But could there, and perhaps should there, be real, fact-based, science-based, evidence-based
research into technologies that can provide a path forward into clean energy economies, and to
mitigation and abatement of existing waste and harm from our fossil economy, that's certainly possible.

Valerie Volcovici, Reuters: I want to turn to California's role in either setting a high watermark for
climate action, for environmental action, or being a backstop, depending on who's in charge of the
federal government. Obviously, we have an election coming up soon. The world can look very diﬀerent in
terms of environmental policy based on the outcome. So in the event of a Trump administration, what
role will California play? Where do you expect to focus your eﬀorts as Attorney General? And if Kamala
Harris wins, where does California feel they can continue to push the federal government to be more
aggressive?

AG Bonta: Let me ﬁrst say California is going to be California, regardless of who is in the White House.
We've shown that with certain presidents and federal administrations, we can have great partnerships.
We can amplify our work. We can do more together with others. We need to push back against and
defend against attacks on our values and on our progress, on our people, on our environment, on our
natural resources. And we've shown that from 2016 to 2020.

We believe that California must always be on the cutting edge, leaning forward on the front foot, being
aggressive and ambitious, and doing, and showing, what might be possible. When we go around the
country and around the world, we are… It's very heartening to see that people tell us they know about
what we've done. They're often inspired by what we've done. So there's this sort of hopeful optimism
that we have created… that the ﬁfth largest economy in the world, the largest state in the nation, the
most diverse state in the nation, the state about which the phrase has been coined as “California goes,
so goes the nation”, that we can do things and make it work in our economy and in our state.

At COP, people see what we've done as a movement for what others can do. We're proud of that, we're
grateful for that, we always want to keep doing more. And we push, what you might think are our federal
administrations and democratic administrations. We do push the Biden administration. We do more on
plastics, to be more like us, to adopt our blueprint for the whole federal government. We will do the
Case 1:25-cv-00011-MJT            Document 1-1         Filed 01/06/25        Page 4 of 5 PageID #: 44



same with any administration, and if it means going to court to sort out our diﬀerences, to make sure
that our people are absolutely supposed to be protected, and we will, and that's just on the
environmental side.

You know, if there is a Trump administration, and I believe there will not be, I believe it will be a
Harris/Walz administration, for anyone who wants to listen. I like to tell them I have Kamala Harris's old
job, not that people want to listen, but I have a captive audience, so I am telling you. We're proud of her.
She has caught lighting in a bottle, and we think that she's electrifying and unifying our party, for sure,
and much of the nation, and so we're hoping for the possibility. But with a Kamala Harris, we have a
daughter of California in the White House, who knows our record, who knows our values, who will work
with us and ﬁght side by side with us and help promote what we've done to more places when it comes
to the environment.

But if there's a Trump administration, you know the attacks are going to be endless and on oﬀense when
it comes to gun safety, when it comes to reproductive freedom, when it comes to civil rights, when it
comes to the LGBTQ+ community, when it comes to housing, when it comes to environment, corporate
accountability, you name it. People have to ﬁght and then ﬁght, we must. Fight we will.

Valerie Volcovici, Reuters: You mentioned that Kamala Harris had your job, in fact, a few years ago. And
in previous campaigns, you know, when she ran for president, she previously, she touted her record as
California AG and being tough against Big Oil. Obviously, now in a general election that's very tight, she's
had to pull back that rhetoric and be more conciliatory around fracking. What would be your expectation
if there is a Harris presidency, a Californian, a former AG, in oﬃce? Do you expect her to be tough on Big
Oil and Big Petrochemical? Do you expect her to kind of be the Californian in chief? To bring that focus,
that prosecutor's approach to recycling?

AG Bonta: Selﬁshly, I would say, yes, that's what I would want. But I know that also that she has to
campaign for and govern for the whole nation, not just for California. There are many considerations,
many factors, many diﬀerent states with diﬀerent interests. These are not always black and white
questions. There's nuance. There's important considerations, like jobs, that are very important. So I
expect her to be fact based and science based, to not be a denier, to embrace the scientiﬁc communities’
warnings and Mother Nature's warnings and our own eyes and our own lived experiences warnings
about climate change, and to take common sense steps that help move us forward and make progress.
And to be to meet the scale and speed and scope of the problem with solutions that match that scale
and speed and scope. And to balance all the diﬀerent issues she needs to balance for our nation, but to
be a world leader when it comes to addressing climate change. So I believe that's in her DNA. I believe
that's what she'll do, and I'm excited for that possibility.

Valerie Volcovici, Reuters: You mentioned there might not be a lawsuit to announce next year during
Climate Week. But there are obviously huge areas that need to be tackled, environmental issues. What
are some things on your radar? Where do you feel that as an Attorney General, you can really apply
pressure to ensure that there's real oversight and action?

AG Bonta: You know, we continue to investigate in the plastic waste space. We brought the lawsuit, of
course, against ExxonMobil. They are the largest producer of polymers and one of the biggest liars.
They're not the only one, so we will see where our investigation goes. If we develop facts that, based on
the existing law, could lead us to bring another suit there. We're continuing to, we have an ongoing
Case 1:25-cv-00011-MJT            Document 1-1          Filed 01/06/25       Page 5 of 5 PageID #: 45



investigation in California with respect to plastics manufacturers who attested that they were providing
plastic bags that were recyclable as part of our plastic single use plastic bag ban and our early indications
suggest that that might not be true. So we have multiple eﬀorts on the plastics front.

Environmental justice is always a critical part of who we are, what we do, that equity lens, making sure
we're ﬁghting for communities that live at the intersection of poverty and pollution, who are
overburdened and under resourced to be heard by pollution and by climate change. We have a number
of eﬀorts in our parts of the state where they're building more warehouses as part of a logistics economy
and the supply chain, and those warehouses and distribution centers are built right beside schools and
disadvantaged communities. We're making sure that we both have economic prosperity and stimulus, as
well as health and support for disadvantaged communities so. And we continue to look at our possible
landscape of climate change and environment harm and we always seek to be a leader, to be aggressive
and ambitious, but those are some of the issues.

Valerie Volcovici, Reuters: Great, just seconds left, any ﬁnal thoughts here in New York?

AG Bonta: Yeah, you know, I'll say this. I'm here to talk about a lawsuit that we ﬁled and the actions that
we bring at the California Attorney General's Oﬃce. Litigation is certainly a pathway for change, and we
are seeking accountability in that in that space. We have marched down that lane at full speed, and we'll
continue to do so, but it's not the only lane.

Activists have an important lane. Policy makers have an important lane. NGOs have an important lane.
Journalists have an important lane. We need all of us working together to make the change that's
needed if we're going to take on and confront this existential threat of climate change. We need to face
the problem, to ﬁx the problem, we need to respond with action that's bold and ambitious, thoughtful
science based in order to get to where we need to go.

I'll just end with this, my daughter, who is now in college. My oldest daughter, when she was in high
school, she came up to me and she said, “Dad, is this weird?”. I remember because she said it like that.
She said, “Is this weird?”. She said, “My friends and I are talking about the fact that we don't want to
have kids because we don't want to bring a new life into a dying planet.” And that's my own daughter in
high school. And it was a gut punch, and it was a reminder and a real motivator that I, and we, need to
do more. Our job and our generation is to give the next generation something better. We are on the
verge of potentially not doing that. We still have time to do that and to change the needle, so I look
forward to working with all of you to do that. Thank you.
